

Matter of Petre v Lucia (2020 NY Slip Op 06873)





Matter of Petre v Lucia


2020 NY Slip Op 06873


Decided on November 19, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 19, 2020

Before: Webber, J.P., González, Scarpulla, Shulman, JJ. 


Index No. 260035/19 Appeal No. 12452 Case No. 2019-04272 

[*1]In the Matter of Gheorghe Petre, Petitioner-Appellant,
vJoseph Lucia et al., Defendants-Respondents.


Gheorghe Petre, appellant pro se.



Order, Supreme Court, Bronx County (Alison Y. Tuitt, J.), entered on or about October 15, 2019, which denied plaintiff's motion for a default judgment, unanimously affirmed, without costs.
It is undisputed that plaintiff did not make a "reasonable attempt" to personally serve defendants, in accordance with CPLR 308; thus, service was improper (see Matter of Wilner v Beddoe, 102 AD3d 582, 584 [1st Dept 2013]). As jurisdiction was not obtained over defendants, they were not required, in response to plaintiff's motion for a default judgment, to demonstrate a reasonable excuse for their default in answering the complaint or a meritorious defense (European Am. Bank v Legum, 248 AD2d 206, 208
[1st Dept 1998]). Similarly, the absence of jurisdiction over defendants renders plaintiff's remaining arguments inapplicable. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 19, 2020








